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 8
 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
      WILLIAM BERRY,                                Case No.:
12
                Plaintiff,
13
          v.                         COMPLAINT FOR VIOLATIONS
14                                   OF: AMERICAN’S WITH
      EMERALD 7, LLC, A CALIFORNIA   DISABILITIES ACT OF 1990, 42
15    LIMITED LIABILITY COMPANY; and U.S.C. § 12181 et seq.; UNRUH
      Does 1-10,                     CIVIL RIGHTS ACT, CALIFORNIA
16                                   CIVIL CODE § 51 et seq.
17
              Defendants.

18
19
20
               1.    Plaintiff William Berry (hereinafter referred to as “Plaintiff”),
21
      complains of Emerald 7, LLC, a California Limited Liability Company; and Does
22
      1-10 (each, individually a “Defendant” and collectively “Defendants”) and alleges
23
      as follows:
24
                                  I.     INTRODUCTION
25
               2.    Gentrification is real. It negatively impacts disabled people also.
26
27    This Papa John’s and the Property it sits on is dilapidated. The walkways and

28    paths of travel into Papa John’s are a tripping hazard, let alone inaccessible

                                             COMPLAINT
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 1    for disabled people. The place needs paint. The place needs re-asphalting. The
 2    owner needs to buy some new signage and take better care of this Property so
 3
      that disabled people can eat there and customers don’t trip. The extent of wear
 4
      and obvious lack of maintenance is shocking. The landlord is clearly absentee.
 5
 6
                                 II.   PARTIES
 7
            3.     William Berry has no toes. All of his toes have been amputated.
 8
      William Berry has difficulty keeping his balance, because without any toes he falls
 9
10    over easily. William Berry has difficulty walking also. Plaintiff is a California

11    resident with physical disabilities. Plaintiff is qualified as being disabled pursuant

12    to 42 USC Section 12102(2)(A), the California Unruh Civil Rights Act, Sections
13    51, et seq. and 52, et seq., and other statutory laws which protect the rights of
14    “disabled persons”. Plaintiff has been issued a blue permanent disability Disabled
15    Person Parking Placard by the State of California.
16          4.     Defendant Emerald 7, LLC, a California Limited Liability Company,
17    owned the property (“Property”) located at 10901 Crenshaw Blvd., Inglewood, CA
18
      90303, at all relevant times.
19
            5.     There is a business establishment on the Property known as "Papa
20
      John’s” (hereinafter “the business”).
21
            6.     DOES 1 through 10 were at all relevant times lessors, lessees, property
22
      owners, subsidiaries, parent companies, employers, employees, agents, corporate
23
      officers, managers, principles and/or representatives of Defendants. Plaintiff is
24
25    unaware of the true names and capacities of Defendants sued herein, as DOES 1

26    through 10, inclusive, and therefore, sues those Defendants by fictitious names.
27    Plaintiff requests that the Court grant leave to amend this complaint to allege the
28    true names and capacities when determined by whatever source.
                                            2
                                        COMPLAINT
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 1           7.     Plaintiff alleges that Defendants at all times have been and are relevant
 2    to this cause of action, the owners, franchisees, lessees, general partners, limited
 3
      partners, agents, employees, employers, represent partners, subsidiaries, partner
 4
      companies, and/or joint ventures of the remaining Defendants and were acting
 5
      within the course and scope of that relationship. Plaintiff is further informed and
 6
      believes and alleges that each of the Defendants gave consent to, ratified, and/or
 7
      authorized the acts alleged of each of the remaining defendants.
 8
             8.     Plaintiff visited the public accommodations owned and operated by
 9
10    Defendants with the intent to purchase and/or use the goods, services, facilities,

11    privileges, advantages or accommodations operated and/or owned by Defendants.

12                                III.   JURISDICTION & VENUE
13           9.     This Court has subject matter jurisdiction over this action pursuant to
14    28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the American with
15    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
16           10.    Pursuant to supplemental jurisdiction, an attendant and related cause of
17    action, arising from the same nucleus of operative facts and arising out of the same
18
      transactions, is also brought under California’s Unruh Civil Rights Act, which act
19
      expressly incorporates the ADA.
20
             11.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
21
      founded on the fact that the real property which is the subject of this action is
22
      located in this district and that Plaintiffs cause of action arose in this district.
23
                                  IV.    FACTS
24
25           12.    The Property owned by Defendants is a facility which is open to the

26    public and is a business establishment.
27           13.    Plaintiff alleges that the Property has been newly constructed and/or
28    underwent remodeling, repairs, or alterations since 1992, and that Defendants have
                                             3
                                         COMPLAINT
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 1    failed to comply with California access standards which applied at the time of each
 2    new construction and/or alteration or failed to maintain accessible features in
 3
      operable working condition.
 4
            14.    Plaintiff visited the Property during the relevant statutory period on
 5
      four (4) separate occasions from March 2019, June 2019, August 2019 and
 6
      December 2019 to patronize the business on the Property.
 7
            15.    Defendants did not offer persons with disabilities with equivalent
 8
      facilities, privileges and advantages offered by Defendants to other patrons.
 9
10          16.    Plaintiff encountered barriers (both physical and intangible) that

11    interfered with – and denied – Plaintiff the ability to use and enjoy the goods,

12    services, privileges and accommodations offered at the Property.
13          17.    Parking, paths travel, entryways, service aisles, and restrooms for
14    patrons visiting the Property are among the facilities, privileges, and advantages
15    offered by Defendants to patrons of the Property. However, none of these facilities
16    are accessible for disabled persons. None of the parking spaces designated for
17    disabled persons comply with the Americans with Disabilities Act (“ADA”). These
18
      areas does not comply with the latest California Building Codes (“2010 CBC
19
      Code”). When Plaintiff visited the Property, he experienced access barriers related
20
      to parking, the paths of travel to the entrance and other areas and facilities.
21
            18.    This Papa John’s and the Property it sits on is dilapidated. The
22
      walkways and paths of travel into Papa John’s are a tripping hazard, let alone
23
      inaccessible for disabled people. The place needs paint. The place needs re-
24
25    asphalting. The owner needs to buy some new signage and take better care of

26    this Property so that disabled people can eat there and customers don’t trip
27    and fall. The extent of wear and obvious lack of maintenance is shocking. The
28    landlord is clearly absentee.
                                            4
                                        COMPLAINT
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 1          19.   Plaintiff encountered the following violations on the Property:
 2          VIOLATION of 2010 CBC 1129B.4(5); (Off-Street Unauthorized Parking
 3
            Sign). An additional sign must be posted in a conspicuous place at all
 4
            entrances to off-street parking facilities at Property, or adjacent to and visible
 5
            from each space. It was not.
 6
 7
            VIOLATION of 2010 CBC 1114B.1.2; 1991 ADA § 4.3.2(1); (Exterior
 8
            Route of Travel) An accessible route of travel was not provided to all
 9
10          portions of the building, entrances and between the building and public way.

11          The asphalt throughout the only paths of travel are broken, cracked,

12          and have changes in level of more than ½ inch without a ramp. The
13          ground is dangerous. It is a tripping hazard, which is even harder for
14          Plaintiff to traverse.
15
16          VIOLATION of 2010 CBC 1114B.1.2; 1991 ADA § 4.3.2(1), 4.1.2(1);
17          (Transportation - Route of Travel) An accessible route of travel must be
18
            provided within the property boundary connecting public transport zones,
19
            parking, passenger loading zones and public streets or sidewalks they serve,
20
            to the building entrance. There was no accessible route connecting these
21
            elements for Plaintiff to travel: Even the exteriors of the building were not
22
            accessible. The asphalt throughout the only paths of travel are broken,
23
            cracked, and have changes in level of more than ½ inch without a ramp.
24
25          The ground is dangerous. It is a tripping hazard, which is even harder

26          for Plaintiff to traverse.
27
28          VIOLATION of 2010 CBC Code Section 1129B.3; 1991 ADA § 4.6.3;
                                             5
                                         COMPLAINT
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 1          ADA 2010 § 502.2. (Faded Paint – Accessible Space Lines). The paint used
 2          for the designated accessible parking space is so worn and aged, it cannot be
 3
            seen. This makes it unclear where the actual parking space is. The required
 4
            width dimensions were not painted as required. This makes it difficult for
 5
            Plaintiff to park in the designated space.
 6
 7
            VIOLATION of 2010 CBC Code 1129B.3; ADA 2010 § 502.2. (Length of
 8
            space). The designated disabled parking spaces measure less than 18 feet
 9
10          long which makes it difficult for Plaintiff to park in the designated space.

11
12          VIOLATION of 2010 CBC Code 1133B.7.1; ADA 1991 Code § 4.6.8.
13          (Abrupt Change in Level Exceeding 1/2”). The path of travel from the space
14          reserved for disabled patrons, the ground surface is uneven, with changes in
15          level exceeding 1/2”.
16
17          VIOLATION of 1991 CA Title 24 1129B.4.2; 2010 CBC Code 1129B.3;
18
            ADA 2010 § 4.6.3. (Length of adjacent access aisle). The adjacent access
19
            aisles to all the designated disabled parking spaces are also less than 18 feet
20
            long. This makes it difficult for Plaintiff to use the adjacent space to safely
21
            disembark from the car.
22
23
            VIOLATION of 1991 CA Title 24 1129B.4.2; 2010 CBC Code 1129B.3;
24
25          ADA 2010 § 4.6.3. (Width of adjacent access aisle). The adjacent access

26          aisles to all the designated disabled parking spaces are also less than 5 feet
27          wide. This makes it difficult for Plaintiff to use the adjacent space to safely
28          disembark from the car.
                                           6
                                       COMPLAINT
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 1
 2          VIOLATION of 2010 CBC 1129B.3.1; ADA 1991 Code § 4.6.3; ADA
 3
            2010 Code § 502.3 (No Loading/Unloading Access Aisle). The adjacent
 4
            loading/unloading access aisle for the accessible parking space is missing
 5
            entirely. This makes it difficult for Plaintiff to use the adjacent space to
 6
            safely disembark from the car.
 7
 8
            VIOLATION of 2010 CBC Code 1129B.3.1. (“No Parking” – surface sign).
 9
10          The words “No Parking” are missing from the adjacent loading/unloading

11          access aisle. As a result, non-disabled patrons park in the loading/unloading

12          access aisle or directly behind it – blocking Plaintiff from being able to use
13          the access aisle.
14
15          VIOLATION of 2010 CBC Code 1129B.4; ADA 1991 § 4.6.4 (Signed not
16          Centered) Although there is a sign showing where the designated accessible
17          space parking is, it is not centered as required, but off to the side on a nearby
18
            wall. The sign was not posted at the parking space. This makes it more
19
            difficult for people and parking enforcement to determine which space is
20
            intended for the sole use of disabled persons.
21
22
            VIOLATION of 2010 CBC Code 1129B.1; ADA 2010 section 502.6. (Sign
23
            obscured). The disabled parking space does have a disabled parking sign,
24
25          however it is obscured from being read because is covered with adhesive

26          stickers, making it difficult for Plaintiff, other patrons to read the sign. The
27          sign was vandalized and left vandalized.
28
                                            7
                                        COMPLAINT
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 1          VIOLATION of 2010 CBC Code 1129B.4.1 & 2. (Surface Signage) The
 2          paint used for the designated accessible parking spaces was faded and cannot
 3
            be seen. There was no compliant surface signage at the designated disabled
 4
            parking space. The International Access Symbol was so faded and worn that
 5
            it cannot be read. The street surface (pavement) signage was unreadable
 6
            because the paint has faded.
 7
 8
            VIOLATION of 2010 CBC Code Section 1127B.1. (No Accessible
 9
10          Exterior Route). There is no accessible path of travel into the building

11          entrances. There is no safe way for Plaintiff to park there and then travel to

12          the entrance of the Property.
13
14          VIOLATION of 2010 CBC Code Section 1127B.1;ADA 1991 Code §
15          4.6.2(1). (Directional signage). There is no directional signage showing an
16          accessible path of travel.
17
18
            VIOLATION of 2010 CBC 1133B.7.4; ADA 2010 section 303.3. (Path
19
            from Parking – Uneven surface) The path of travel from the designated
20
            disabled parking space to the entrance has damaged ground which is uneven.
21
            The damaged ground is uneven with loose material. There are cracks and
22
            uneven surfaces. The surface of the ground within the designated path of
23
            travel leading into the entrance is not flat. This makes traveling in this area
24
25          difficult. The path of travel from the designated disabled parking space to the

26          entrance runs into cracks and changes in level greater than 1/2 inch but
27          provides no ramps. These steep changes in level create uneven surfaces.
28
                                             8
                                         COMPLAINT
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 1          VIOLATION of 2010 CBC 1133B.7.1; ADA § 4.3.8; (Walks/Sidewalks
 2          Change in Level ½”). The walk into the business does not have a continuous
 3
            common surface because there are abrupt changes in level of more than ½
 4
            inch.
 5
 6
            VIOLATION of 2010 CBC 1133B.5.1; ADA § 4.8.1 (Ramps 5%). The
 7
            accessible route of travel is more than 1:20 (5%) but is not a compliant ramp.
 8
 9
10          VIOLATION of 2010 CBC 1133B.5.2; (48” Min. for Ramps). The ramps

11          do not have a minimum clear width of 48” inches.

12
13          VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Least Possible Slope
14          of Ramp Mandatory). The least possible slope of the ramp leading into the
15          business was not used.
16
17          VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Max. Slope of Ramp
18
            8.33%). The slope of the ramp leading into the business is greater than
19
            8.33%.
20
21
            VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4 (Level Ramp
22
            Landings). Level ramp landings must be provided at the top and bottom of
23
            each ramp. They were not provided.
24
25
26          VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4(1) (Width of Ramp
27          Landings). The landing of ramps must be at least twice the width as the tamp
28          run leading to it, but they were not at least twice as wide.
                                           9
                                       COMPLAINT
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 1
 2           VIOLATION of 2010 CBC 1133B.5.4.2; ADA § 4.8.4(2), 4.8.4(3) (Min.
 3
             Landing Width and Length for Top Ramp Landings 60”). The top landing of
 4
             ramps were not 60” wide and long as required.
 5
 6
             VIOLATION of 2010 CBC 1133B.5.4.2 (Min. Landing Length for Bottom
 7
             Ramp Landings 72”). The bottom landing of ramps was not 72” in length as
 8
             required.
 9
10
11           VIOLATION of 2010 CBC 1133B.5.4.6; ADA § 4.8.4(3) (Min. Landing

12           Size for Ramps Direction Change). The minimum landing size of 60” x 60”
13           was not provided for the ramp’s change of direction.
14
15           VIOLATION of 2010 CBC 1133B.5.4.9 (Ramp Hazard Curb). The
16           minimum 2” hazard curb for the ramp with was not provided for the ramp.
17
18
             VIOLATION of 2010 CBC Code 1133B.7.4; ADA 2010 § 303.3. (Front
19
             Entrance Threshold/Weather Strip- Interior Changes in level). Inside the
20
             building, the front door entrance threshold and weather strip has changes in
21
             level greater than 1/2 inch but provides no ramps. This makes traversing this
22
             area difficult.
23
24
25           20.    Plaintiff personally encountered these barriers.

26           21.    These inaccessible conditions denied Plaintiff full and equal access
27     and caused difficulty, humiliation and frustration.
28           22.    The barriers existed during each of Plaintiff’s visits in 2019.
                                           10
                                        COMPLAINT
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 1            23.    Plaintiff alleges that Defendants knew that the architectural barriers
 2     prevented access. Plaintiff will prove that Defendants had actual knowledge that
 3
       the architectural barriers prevented access and that the noncompliance with the
 4
       ADAAG and Title 24 of the California Building Code regarding accessible
 5
       features was intentional.
 6
              24.    Plaintiff intends to return to Defendants public accommodation
 7
       facilities in the near future. Plaintiff is currently deterred from returning because
 8
       of the knowledge of barriers to equal access that continue to exist at Defendants’
 9
10     facilities that relate to Plaintiff’s disabilities.

11            25.    Defendant has failed to maintain in working and useable conditions

12     those features necessary to provide ready access to persons with disabilities.
13            26.    Defendants have the financial resources to remove these barriers
14     without much expense or difficulty in order to make their Property more
15     accessible to their mobility impaired customers. These barriers are readily
16     achievable to remove. The United States Department of Justice has identified that
17     these types of barriers are readily achievable to remove.
18
              27.    To date, Defendants refuse to remove these barriers.
19
              28.    On information and belief, the Plaintiff alleges that the Defendants’
20
       failure to remove these barriers was intentional because the barriers are logical
21
       and obvious. During all relevant times Defendants had authority, control and
22
       dominion over these conditions and therefore the absence of accessible facilities
23
       was not a mishap but rather an intentional act.
24
25            29.    These barriers to access are described herein without prejudice to

26     Plaintiff citing addition barriers to access after inspection by plaintiff’s access
27     agents, pursuant to Doran v 7-ELEVEN, Inc. 524 F3d 1034 (9th Cir. 2008)
28     (holding once a plaintiff encounters one barrier at a site, a plaintiff can sue to have
                                               11
                                            COMPLAINT
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 1     all barriers that relate to their disability removed regardless of whether they
 2     personally encountered them).
 3
         IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 4        WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
 5                                  (Against All Defendants)
 6
              30.    Plaintiff alleges and incorporates by reference each and every
 7
       allegation contained in all prior paragraphs of this complaint.
 8
              31.    Title III of the ADA prohibits discrimination against any person on
 9
       the basis of disability in the full and equal enjoyment of the goods, services,
10
11     facilities, privileges, advantages, or accommodations of any place of public

12     accommodation by any person who owns, leases or leases to, operates a place of
13     public accommodation. U.S.C. § 12182(a).
14            32.    Defendants discriminated against Plaintiff by denying “full and equal
15     enjoyment” and use of the goods, services, facilities, privileges or
16     accommodations of Defendant’s facility during each visit and each incident of
17     deterred visit.
18
              33.    The acts and omissions of Defendants herein are in violation of
19
       Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et
20
       seq.
21
              34.    Pursuant to the ADA, discrimination is a “failure to make reasonable
22
       modifications in policies, practices or procedures, when such modifications are
23
       necessary to afford goods, services, facilities, privileged, advantages or
24
25
       accommodation to individuals with disabilities, unless the entity can demonstrate

26     that making such modifications would fundamentally alter the nature of such

27     goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C.
28     § 12182(b)(2)(A)(ii).
                                           12
                                        COMPLAINT
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 1           35.     The ADA prohibits failing to remove structural architectural barriers
 2     in existing facilities where such removal is readily achievable. 42 U.S.C. §
 3
       12182(b)(2)(A)(iv). The term “readily achievable” is defined as “easily
 4
       accomplishable and able to be carried out without much difficulty or expense.” Id.
 5
       § 12181(9). Barriers are defined by reference to the ADAAG, found at 28 C.F.R.,
 6
       Part 36.
 7
             36.     In the event removal of any barrier is shown to not be readily
 8
       achievable, a failure to make goods, services, facilities, or accommodations
 9
10     available through alternative methods is also prohibited if these methods are

11     readily achievable. Id. § 12182(b)(2)(A)(v).

12           37.     Plaintiff alleges that Defendants can easily remove the architectural
13     barriers at their facility without much difficulty or expense, and that Defendants
14     violated the ADA by failing to remove those barriers because it was readily
15     achievable to do so. Defendants can afford such costs given they are a fraction of
16     what the Defendants takes in rental profits for such a large and expensive
17     property.
18
             38.     In the alternative, if it was not “readily achievable” for Defendants to
19
       remove the facilities barriers, the Defendants violated the ADA by failing to make
20
       the required services available through alternative methods, which are readily
21
       achievable.
22
             39.     On information and belief, the facility was modified after January 26,
23
       1992, mandating access requirements under the ADA.
24
25           40.     The ADA requires that facilities altered in a manner that affects or

26     could affect its usability must be made readily accessible to individuals with
27     disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
28           41.     Plaintiff alleges that Defendants altered the facility in a manner that
                                            13
                                         COMPLAINT
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 1     violated the ADA and was not readily accessible to physically disabled persons,
 2     including Plaintiff, to the maximum extent feasible.
 3
             42.    The ADA also requires reasonable modification in policies, practices,
 4
       or procedures when necessary to afford such goods, services, facilities, or
 5
       accommodations to individuals with disabilities, unless the entity can demonstrate
 6
       that making such modifications would fundamentally alter their nature. 42 U.S.C.
 7
       § 12182(b)(2)(A)(ii).
 8
             43.    Plaintiff alleges that Defendants violated the ADA by failing to make
 9
10     reasonable modifications in policies, practices, or procedures at the facility when

11     these modifications were necessary to afford (and would not fundamentally alter

12     the nature of) these goods, services, facilities, or accommodations.
13           44.    Plaintiff seeks a finding from this Court that Defendants violated the
14     ADA in order to pursue damages under California’s Unruh Civil Rights Act for
15     Disable Persons Act.
16           45.    Here the Defendants’ failure to make sure that accessible facilities
17     were available and ready to be used by the Plaintiff is a violation of law.
18
             46.    Plaintiff would like to continue to frequent Defendants’ facility, but
19
       Plaintiff has been discriminated against and continues to be discriminated against
20
       because of the lack of accessible features.
21
             47.    Among the remedies sought, Plaintiff seeks an injunction order
22
       requiring compliance with the state and federal access laws for all the access
23
       violations that exist at the Property.
24
25       V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
                           (Cal. Civ. Code § 51-53.)
26
                                     (Against All Defendants)
27
28           48.    Plaintiff repleads and incorporates by reference, as fully set forth
                                            14
                                         COMPLAINT
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 1     again herein, the allegations contained in all prior paragraphs of this complaint.
 2            49.    California Civil Code § 51 states, in part: All persons within the
 3
       jurisdictions of this state are entitled to the full and equal accommodations,
 4
       advantages, facilities, privileges, or services in all business establishments of
 5
       every kind whatsoever.
 6
              50.    California Civil Code § 51 also states, in part: No business
 7
       establishment of any kind whatsoever shall discriminate against any person in this
 8
       state because of the disability of the person.
 9
10            51.    California Civil Code § 51(f) specifically incorporates (by reference)

11     an individual’s rights under the ADA into the Unruh Act.

12            52.    The Unruh Act also provides that a violation of the ADA, or
13     California state accessibility regulations, is a violation of the Unruh Act. Cal Civ.
14     Code, § 51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433,
15     439 (N.D.Cal.1994).
16            53.    Defendants’ above-mentioned acts and omissions have violated the
17     Unruh Act by denying Plaintiff rights to full and equal use of the
18
       accommodations, advantages, facilities, privileges and services they offer, on the
19
       basis of Plaintiff’s disability.
20
              54.    Defendants’ above-mentioned acts and omissions have also violated
21
       the Unruh Act by denying Plaintiff rights to equal access pursuant to the ADA
22
       and are liable for damages. (Civ. Code § 51(f), 52(a)).
23
              55.    Because violation of the Unruh Civil Rights Act resulted in
24
25     difficulty, discomfort or embarrassment for the Plaintiff, the Defendants are also

26     each responsible for statutory damages, such as a civil penalty. (Civ. Code §
27     55.56(a)-(c)).
28            56.    Plaintiff was damaged by Defendants’ wrongful conduct and seeks
                                             15
                                          COMPLAINT
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 1     statutory minimum damages of four thousand dollars ($4,000) for each offense.
 2                                  PRAYER FOR RELIEF
 3
                     WHEREFORE, Plaintiff prays judgment against Defendants, as
 4
       follows:
 5
             1. For injunctive relief, compelling Defendants to comply with the
 6
                  Americans for Disabilities Act and the Unruh Civil Rights Act. Note:
 7
                  Plaintiff is not invoking section 55 of the California Civil Code and is
 8
                  not seeking injunctive relief under the Disabled Person Acts.
 9
10           2. Damages under the Unruh Civil Rights Act which provides for actual

11                damages and a statutory minimum of $4,000 per each offense.

12           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
13                to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
14
15     DATED: January 30, 2020                 THE LAW OFFICE OF HAKIMI & SHAHRIARI
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                                        By:    /s/ Peter Shahriari, Esq.____________
19                                             PETER SHAHRIARI, ESQ.
                                               Attorney for Plaintiff William Berry
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                                         COMPLAINT
